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                   EXHIBIT 9
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                                   1900


  From:                James Kolenich
  To:                  Seguin Strohmeier
  Cc:                  Elmer Woodard; Julie Fink; Roberta Kaplan; Christopher Greene; Karen Dunn; Levine, Alan
  Subject:             Re: Sines et al. v. Kessler et al.
  Date:                Monday, March 12, 2018 10:53:12 PM


  ​Ms. Strohmeier:

   Thank you for your letter of March 9, 2018. Due to the press of other business my
  clients will be unable to respond to discovery by March 23. We can respond by April
  6, 2018. In addition we decline your request to have each client provide written
  verification of their compliance with what is already a legal obligation. ​

  Respectfully,

  Jim Kolenich


  On Fri, Mar 9, 2018 at 7:08 PM, Seguin Strohmeier <sstrohmeier@kaplanandcompany.com>
  wrote:

    Mssrs. Woodard and Kolenich:



    Please see the attached correspondence.



    _____



    Seguin L. Strohmeier

    Kaplan & Company, LLP

    350 Fifth Avenue, Suite 7110

    New York, NY 10118

    (929) 294-2531

    sstrohmeier@kaplanandcompany.com




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